Case 2:05-CV-02041-SHI\/|-tmp Document 82 Filed 08/12/05 Page 1 of 3 Page|D 53

FILED BY ___” p_g_
UNITED STATES DISTRICT COURT

FOR THE WESTERN DISTRICT 0F TENNESSEE 05 AUG l 2 PH S= 02

niOMAS M. GOULD
JAMES C. BARBER, Sr. ) QERK U§- Ail`?§'i??l_<}T COURT
) WFD O'~ :-.`-:. f.'¢h‘.-€PHIS
Plaintiff, ) Case No. 2:05-cv-02041-SHM-tmp
)
v. ) Hon. Samuel M. Mays, Jr.
) U.S. District Judge
RADIANS, INC. and ) Hon. Tu M. Pham
MIKE TUTOR, )
) JURY DEMAND
Defendants. )

ORDER GRANTING DEFENDANTS’ MOTION TO FILE UNDER SEAL

Upon consideration of the Motion to File Under Seal filed by Defendants
Radians, Inc. and Mike Tutor, it is the Order of the Court that the Motion is Well-

taken and is hereby GRANTED.

Entered this the !"1_ day of Ag§v§_-t , 2005.

im

JUDGE

This cloci m="t entered on the docket sheet |n ~
with R.lle 55 acidlor 321b) FRCIP on ’

92

 

August 15, 2005 to the parties listed.

Notice of Distribution

This notice confirms a copy of the document docketed as number 82 in
case 2:05-CV-02041 Was distributed by faX, mail, or direct printing on

ESSEE

 

Joel T. Galanter

ADAMS AND REESE/STOKES BARTHOLOi\/[EW
424 Church St.

Ste. 2800

Nashville, TN 372 l 9--232

Frank D. Eaman

BELLANCA BEATTIE AND DE LISLE, P.C.
20480 Vernier Road

Harper \Noods7 MI 48225--141

HoWard L. Cleveland

KIESEWETTER WISE KAPLAN SCHWIMMER & PRATHER
3725 Champion Hills Dr.

Ste. 3000

i\/lemphis7 TN 38125

Paul ]3. Billings

LAW OFFICE OF PAUL ]3. BILLINGS, IR.
6555 Quince Rd.

Ste. 109

i\/lemphis7 TN 38119

J ames V. Bellanca

BELLANCA BEATTIE AND DE LISLE, P.C.
20480 Vernier Road

Haoer \Noods7 MI 48225--141

J ames C. Zeman

BELLANCA BEATTIE AND DE LISLE, P.C.
20480 Vernie Road

Harper \Noods7 MI 48225--141

Brad A. Lampley

ADAMS AND RESSE/STOKES BARTHOLOMEW
424 Church St

Ste 2800

Nashville, TN 372 l 9

Case 2:05-cV-02041-SHI\/|-tmp Document 82 Filed 08/12/05 Page 3 of 3 Page|D 55

Steven Hymowitz

KIESEWETTER WISE KAPLAN & PRATHER, PLC
3725 Champion Hills Drive

Ste. 3000

i\/lemphis7 TN 38125

Honorable Samuel Mays
US DISTRICT COURT

